Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 1 of 6
Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 2 of 6
Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 3 of 6
Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 4 of 6
Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 5 of 6
Case 18-15907-elf   Doc 9   Filed 09/21/18 Entered 09/21/18 14:35:18   Desc Main
                             Document     Page 6 of 6
